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                   8                            UNITED STATES DISTRICT COURT
                   9                       CENTRAL DISTRICT OF CALIFORNIA
                  10                                 EASTERN DIVISION
                  11 CARTER BRYANT, an individual,            CASE NO. CV 04-9049 SGL (RNBx)
                  12               Plaintiff,                 Consolidated with
                                                              Case No. CV 04-09059
                  13        vs.                               Case No. CV 05-02727
                  14 MATTEL, INC., a Delaware                 Hon. Stephen G. Larson
                     corporation,
                  15                                          [PROPOSED] ORDER RE:
                                  Defendant.                  PLAINTIFF MATTEL, INC.'S EX
                  16                                          PARTE APPLICATION TO (1)
                                                              COMPEL DEPOSITIONS OF ELISE
                  17 AND CONSOLIDATED CASES                   CLOONAN, MARGARET HATCH-
                                                              LEAHY, AND VERONICA
                  18                                          MARLOW OR (2) IN THE
                                                              ALTERNATIVE, MODIFY THE
                  19                                          SCHEDULING ORDER
                  20                                          [Local Rule 7-19]
                  21                                          Hearing Date: November 16, 2007
                                                              Time:         10:00 a.m.
                  22                                          Place:        Courtroom 1
                  23                                          Discovery Cut-Off: January 28, 2008
                                                              Pre-Trial Conference: May 5, 2008
                  24                                          Trial Date:           May 27, 2008
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                                                                                       [PROPOSED] ORDER
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                   1                                  [PROPOSED] ORDER
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                   3                Having considered Mattel, Inc.'s Ex Parte Application to (1) Compel
                   4 the Depositions of Elise Cloonan, Margaret Hatch-Leahy and Veronica Marlow or
                   5 (2), in the Alternative, Modify the Scheduling Order, oppositions thereto and all
                   6 other papers filed in connection therewith, and finding good cause therefore,
                   7                IT IS HEREBY ORDERED that
                   8                1.    Elise Cloonan, Margaret Hatch-Leahy and Veronica Marlow
                   9 shall appear for deposition in Los Angeles on or before December 7, 2007; OR
                  10                2.    Mattel, Inc. will be allowed to take discovery based on testimony
                  11 of these witnesses until the later of:
                  12                (a)   the Phase One factual discovery cutoff; or
                  13                (b)   two months following the completion of the last of their
                  14 depositions.
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                  18 DATED:                         , 2007
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                                                              Hon. Stephen G. Larson
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                                                                                            [PROPOSED] ORDER
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                                                                                [PROPOSED] ORDER
